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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

 

EASTERN DIVISION
)
General Tools & Instruments, LLC )
) Case No. 1:19-cv-02519
Vv. )
) Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
) Magistrate: Honorable Sunil R. Harjani
)
)

FINAL DEFAULT JUDGMENT ORDER

This action having been commenced by Plaintiff, General Tools & Instruments, LLC
(“Plaintiff”) against the defendants operating the websites/webstores identified on Exhibit 2 of
Plaintiff's Complaint (collectively, the “Infringing Webstores”) (Docket # 5), and Plaintiff
having moved for entry of Default and Default Judgment against the defendants identified on
Exhibit 1 to this Order (collectively, the “Defaulting Defendants” as defined in Exhibit 1 to this
Order) (Docket Nos. 48 and 49);

This Court having entered upon a showing by Plaintiff a temporary restraining order and
preliminary injunction against Defaulting Defendants;

Plaintiff having properly completed service of process on Defaulting Defendants,
providing notice via e-mail, along with any notice that Defaulting Defendants received from the
ecommerce platforms, hosts, and payment processors, being notice reasonably calculated under
all circumstances to apprise Defaulting Defendants of the pendency of the action and affording
them the opportunity to answer and present their objections (Docket Nos. 22, 26-27); and

Defaulting Defendants having failed to answer the Complaint or otherwise plead, and

the time for answering the Complaint having expired;
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THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting
Defendants because Defaulting Defendants directly target their business activities toward
consumers in the United States, including Illinois. Specifically, Defaulting Defendants are
reaching out to do business with Illinois residents by operating one or more commercial,
interactive Infringing Websites through which Illinois residents can purchase products bearing ~
counterfeit versions of the ANGLE-IZER trademarks, United States Trademark Registration
Nos. 5,345,751 and 5,345,752) (Docket # 1, Attachment #2) as seen throughout Exhibit 1 to
the Nair Declaration (“Screenshots”) contained in Plaintiff's Motion for a Temporary
Restraining Order (Docket #14, and Docket #14, Attachments #1-10).

The USPTO trademark registrations, attached as Exhibit 3 to Plaintiff's Complaint, are
valid, unrevoked, and uncancelled (Docket #1, Attachment #2). As seen in the Screenshots,
Defendants use the mark and display images protected by trademark and copyright on the
infringing websites without Plaintiff's permission or consent.

THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful
federal trademark infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin
(15 U.S.C. § 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815
ILCS § 510, et seq.).

IT IS HEREBY ORDERED that Plaintiff's Motion for Entry of Default and Default
Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and
that this Final Judgment is entered against Defaulting Defendants.
IT IS FURTHER ORDERED that Defendants, their affiliates, officers, agents, servants,
employees, attorneys, confederates, and all persons acting for, with, by, through, under or in active

concert with them be permanently enjoined and restrained from:

a. the ANGLE-IZER trademark or any reproductions, counterfeit copies or colorable
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imitations thereof in any manner in connection with the distribution, marketing,
advertising, offering for sale, or sale of any product that is not a genuine General Tools
product or not authorized by Plaintiff to be sold in connection with the ANGLE-IZER
Trademark;

b. passing off, inducing, or enabling others to sell or pass off any product as a genuine
General Tools product or any other product produced by Plaintiff, that is not Plaintiffs
or not produced under the authorization, control or supervision of General Tools and
approved by Plaintiff for sale under the ANGLE-IZER Trademark;

c. committing any acts calculated to cause consumers to believe that Defendants’
Counterfeit Products are those sold under the authorization, control or supervision of
General Tools, or are sponsored by, approved by, or otherwise connected with General
Tools;

d. further infringing the ANGLE-IZER trademark and damaging Plaintiffs goodwill;

e. otherwise competing unfairly with Plaintiff in any manner;

f. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,
storing, distributing, returning, or otherwise disposing of, in any manner, products or
inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or
offered for sale, and which bear any of the ANGLE-IZER trademark, or any
reproductions, counterfeit copies or colorable imitations thereof;

g. using, linking to, transferring, selling, exercising control over, or otherwise owning or
operating the infringing webstores, websites, or any other domain name that is being used

to sell or is the means by which Defendants could continue to sell Counterfeit Products;
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h. operating and/or hosting infringing webstores, websites and any other domain names
registered or operated by Defendants that are involved with the distribution, marketing,
advertising, offering for sale, or sale of any product bearing the ANGLE-IZER
trademark or any reproductions, counterfeit copies or colorable imitations thereof that is
not a genuine General Tools product or not authorized by General Tools to be sold in
connection with the ANGLE-IZER trademark;

i. registering any additional stores, websites, or domain names that use or incorporate any of
the ANGLE-IZER trademark; and

j. using images covered by the General Tools’s Copyrights or any of General Tools’s
original photographs that General Tools uses to advertise the sale of original General
Tools products.

2. Those in privity with Defaulting Defendants and with actual notice of this Order, including
ecommerce platform providers, such as Alibaba, Ali-Express, Amazon, eBay, Paypal, Wish,
etc., shall within three (3) business days of receipt of this Order:

a. disable and cease providing services for any accounts through which Defaulting
Defendants, in the past, currently or in the future, engage in the sale of goods using the
ANGLE-IZER Trademarks, including, but not limited to, any accounts associated with
the Defaulting Defendants as listed in Exhibit 2 to Plaintiff's Complaint and not
previously dismissed from this action; and

b. disable any account linked to Defaulting Defendants, linked to any e-mail addresses used
by Defaulting Defendants, or linked to any of the Infringing webstores/websites.

Pursuant to 15 U.S.C. § 1117(c)(1), Plaintiff is awarded statutory damages from each of the

Defaulting Defendants in the amount of One-Hundred Thousand Dollars (U.S.) and No Cents
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($100,000.00) for using counterfeit ANGLE-IZER Trademarks on products sold through at least
the Infringing webstores/websites. As to each Defaulting Defendant, until such Defaulting
Defendant has paid in full the award of statutory damages against it:

a. Alibaba, Ali-Express, Amazon, eBay, Wish (collectively the “Platforms”) and PayPal,
Payoneer, WorldFirst, Bill.com, Pingpong, Payeco, Umpay/Union Mobile Pay,
Moneygram and Western Union (collectively the “Payment Processors”) shall, within
two (2) business days of receipt of this Order, permanently restrain and enjoin any
accounts connected to Defaulting Defendants, Defaulting Defendants’ Infringing
webstores/websites identified in Exhibit 2, except those dismissed, from transferring
or disposing of any money or other of Defaulting Defendants’ assets.

b. All monies currently restrained in Defaulting Defendants’ financial accounts, including
monies held by the Platforms or the Payment Processors are hereby released to Plaintiff
as partial payment of the above-identified damages, and are ordered to release to Plaintiff
the amounts from Defaulting Defendants’ Platform or Payment Processor accounts within
ten (10) business days of receipt of this Order.

c. Plaintiff shall have the ongoing authority to serve this Order on the Platforms or the
Payment Processors in the event that any new accounts controlled or operated by
Defaulting Defendants are identified. Upon receipt of this Order, the Platforms or the
Payment Processors shall within two (2) business days:

i. Locate all accounts and funds connected to Defaulting Defendants, Defaulting
Defendants’ Infringing webstores/websites, including, but not limited to, any

accounts connected to the information listed in Exhibit 2 of the Complaint, the
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e-mail addresses identified in Exhibit 1 to the Declaration of Rishi Nair and any e-
mail addresses provided for Defaulting Defendants by third parties;

ii. Restrain and enjoin such accounts or funds from transferring or disposing of any
money or other of Defaulting Defendants’ assets; and

iii. Release all monies restrained in Defaulting Defendants’ accounts to Plaintiff as
partial payment of the above-identified damages within ten (10) business days of
receipt of this Order.

4. Until Plaintiff has recovered full payment of monies owed to it by any Defaulting
Defendant, Plaintiff shall have the ongoing authority to serve this Order on any banks, savings
and loan associations, payment processors, or other financial institutions (collectively, the
“Financial Service Providers”) in the event that any new financial accounts controlled or
operated by Defaulting Defendants are identified. Upon receipt of this Order, the Financial
Service Providers shall within two (2) business days:

a. Locate all accounts and funds connected to Defaulting Defendants, Defaulting
Defendants’ Infringing webstores/websites, including, but not limited to, any accounts
connected to the information listed in Exhibit 2 of the Complaint, the e-mail addresses
identified in Exhibit 1 to the Declaration of Rishi Nair, and any e-mail addresses
provided for Defaulting Defendants by third parties;

b. Restrain and enjoin such accounts or funds from receiving, transferring or disposing of
any money or other of Defaulting Defendants’ assets; and

c. Release all monies restrained in Defaulting Defendants’ financial accounts to Plaintiff as
partial payment of the above-identified damages within ten (10) business days of receipt

of this Order.
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5. In the event that Plaintiff identifies any additional webstores, websites, domain names or
financial accounts owned by Defaulting Defendants, Plaintiff may send notice of any
supplemental proceeding to Defaulting Defendants by e-mail at the email addresses identified in
Exhibits 1 to the Declaration of Rishi Nair and any e-mail addresses provided for Defaulting

Defendants by third parties.

6. Finally, the Clerk shall return Plaintiff's $10,000 bond, including any interest minus the

registry fee, posted as a condition of the injunctive relief issued in this matter (Docket # 25).

IT IS SO ORDERED.

Dated: 0 3 e / q Respectfully Submitted,

U.S. District Court Judge Robert W. Gettleman

 
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Schedule A
Defaulting Defendants
Doe Store Name E-mail _
515: TigerGruppe gorik2712@gmail.com _
520 _| ChuckRich 13703513678@163.com ee
521 RLSTOREFRONT david_a robinsonl|@outlook.com _
528 JJEcommUS jjecommus@gmail.com -
/534 | AlfaBetat+ dmitroamzcom@gmail.com = |
538 | Gurkco goksu.akguc@yahoo.com |
| 539 Christ Roi Barbara ereoggewsd@)163.com __ :
| 540 YaslynGoods evitadecov@gmail.com ;
541, WeLax US maiducan9119@gmail.com
i 542 __| valtterisperfectproducts tuulitutka@gmail.com _
546 PractiTools joelm697@hotmail.com
| 548 - Tomcruise nguyenthihongtamndna@gmail.com _
| 549 L&A daralo881@gmail.com
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| 550 _| easy purchase iconfutcio@gmailcom
, 553 | Spaceling dtarasova669@gmailcom
555 Yazer yujin0925@yahoo.com ee
(556 | MARAFON cherkaskyidmytro@gmail.com
557__| ABBYES maliavkal235@gmail.com
_558__ TITAN ZERO 158297563@qq.com co
.559 _, TOLOVI amznguyenbakhuong@gmail.com
Global Times Shin Shaon Electronics Direct
-561 __: Store yh882008@homail.com
564 _; tonyhuyen ttnhuyen213@gmail.com
: 566 | QA Company qqamz7@gmail.com ;
967 Aemmam6 ettideep72@gmail.com
569 __| LySanSan ttangal 122@gmail.com
510 | EGGO egehanyanik@gmailcom
572 _; Nashinals Cake amzvuvanphuc@gmail.com — _
| 575 JPONLINE linhlamocmit2@gmail.com |
_576__| Boyarsell alexandr.ivashkevich@gmail.com
580 __; Pro.store inga.work88@gmail.com .
581 _._ Win for US minfaus14@126.com
_582__, Amazingville taras.boiko89@gmailcom
584 __| Le Merlan khanhnguyen.utc.hanoi@gmail.com —
586___| RepubliCo LLC sheila.babadi@yahoo.com
587 ____ RinoStore _ tinoonik@yahoo.com ———sis
| 588 _. From US With Love jack.nozama@gmail.com ee
592 _| Iniesta thankhong]410@gmailcom
| 594 | Masterboxan 2Z5603224@163.com

 

 
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603 Matefield

usmatefieldamazon@126.com

Doe Store Name E-mail
| 595 ABCD Market Aleks.glotenko@gmail.ccom
.599 __ NIDIBI STORE _ amznhom2@gmail.com ss
|.602___ Shantan shantandodo@outlook.com

 

 

 

 

 

 

 

 

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| 610 __ Anbaituer anbaiter@outlook.com

616 | *at_your_service _ bakercwy@outlook.com

617 _ *chloemumstore* samwoo28@gmail.com ;
618 __, *deletedeals* deletemz@gmail.com

 

619 | *handy-trendy*

- handytrendystore@gmail.com

 

 

 

 

 

 

620 _, *mall*of*parsons* eileen1083@gmail.com

621 _| *sprinkles-cookies*25 karenzhong8 1@gmail.com

| 623 15oceaneshop oceaneshop15@yahoo.com |

624 | 16bigsale88 bigsale88@outlook.com is
625 | 2009shoppingmall sunnyweather1822@gmail.com

 

626 _2010bettertogether

livebettertogether@gmail.com |

 

627 | 2012-hello

hello20126@hotmail.com _

 

629 2019mmdpp

mmdpp06@163.com

 

630 _| 22homeasybuy

water22food88@yahoo.com

 

631 _| 4everinjoy

 

 

 

 

 

 

 

 

 

 

ming756zuo@sohu.com

632 | 4hotseason _4hotseasoncs@gmail.com
633, 682588" II 6825881l|@gmail.com
634 |. 6godwater ashiondayf@yahoo.com .
°636 _| 7thcolor eboonph@gmail.com

637 —_, 82-mart . myplaystore666@gmail.com
638 ~~, 86535*2013 13632978089@163.com _
639 _. 8keeploveall eightkeeploveall@126.com

642 _. aa _ 809 baysiyong@gmail.com

 

645 advicelion01 :

advicelionfour@gmail.com

 

646 ahlsensky

 

guangchun888@outlook.com  —™S

 

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652 | amanda_byshop kapongem2@gmailcom
653 amel9450-zmchvak ojkjurszz54564@163.com_

658 _. anybestbuy | buybest@outlook.com

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|Doe | Store Name E-mail |

(666 _| awinpaper01 bwinpaper@gmail.com a

667 __| bagawicakson_0 bagaswicaksonol38@gmail.com |

668 —__ barbar-2322 barbarar5858@outlook.com -

/ 669 | bead-wholesale bingxuexiaoyuan@aliyun.com ee

673 best_items_usa georgiangelov007@gmail.com

: 675 _| bestbuy_outlets baisimaics@gmail.com |

678 __ beststoreever| 1 mohcine.glowox@gmail.com a

680 _; bicoins de ebay17@pbuyincoins.com

| 681 _| bifengsi-3 bifengsi@outlook.com |

, 682 Bigfallsfashion sandra.mistec@gmail.com

| 683 Bingylov youjklc@163.com

/685 __| blossomdealsofficial support@blossomdeals.com

- 686 __boss7321 __ boss201308@gmail.com - _

| 687 _bravo-us2018 bravo-top@hotmail.com 7

! 688 _| bshdg94 bshdg5befj@hotmailcom =|

690 _ bundas-22 _ bundashafiya.club@gmail.com _

691 _| Butterify butteflyy@hotmail.com

693 _| Buyincoins ebay@buyincoins.com Oo

695 __| buyitcheap-senditfast mario-20152016@hotmailcom

696 _| Calmandpeace calmandpeace.cs@gmail.com ;

697 __ careforyoul23 thebestore@126.com oe

699 _ Cdiscountstore yesisi756@outlook.com

700. chai-5779 ongchaiheng1959@gmail.com

701 _chengduzhonghao5 chengduzhonghao@sina.com

706 _: Cjemall cjcmall789@gmail.com

/711 | colored.bubbles shiguoceu@outlookcom i isis

712 | Coolcasesde wing.libra.hk@gmail.com

713 Cooldealmate cooldealsmate@yahoo.com |
715 _, Crazyzeny chomphatai. watcharasing@gmail. com

116 __| Customervoice ducanh3 1@gmail.com ne
‘717 __| cutebead88 huangxuelan2012@hotmail.com

/718 __, dailylittleblessings5778 kainos5778@gmail.com

719 dasion-tech dasion.du@ytd.hk

726 __ demon8188 494427262@qq.com

728 __Deshopy givonfelix8@gmail.com

729 | dgsgh2018 _ i20885247@163.com a

730 | Dimmmishop arshinnikovdmitriy@gmail.com __ -

(731 _. dingji0 catch19young@sina.com

734 dopyl981 devbjy982036@outlook.com

735 _double_fast nguyenngophuc92@gmail.com _

| 736 ‘| Doublehot yklbrmy@163.com

737. dqyl995 xiaohulu2016@outlook.com

 
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| Doe Store Name E-mail
738 dr-babygroove __ donnygroove26@gmail.com
739 dragonwang876_3 dragonwang876@gmail.com
740 dreams0809 topsell2015@163.com
741 dresses-up dressesupcs@gmail.com
742 Dsgadaw _ hglr54@163.com _
744 durab01 zhonghaoebay3@126.com
745 Duwegawe _ rizalyudhistira7 1@gmail.com
749 easybuy_dke ray_wgs@hotmail.com
750 edaelec0 dana3998@outlook.com
756 electronicgoods7-3 electronicgoods17@gmail.com
157 Electronicity electronicity01@yahoo.com
760 elink2mall elink2mallcln@sina.com
761 emmaxiel26_—__ chunmeixie@hotmail.com
762 environmental2000 rjewbna474k@163.com
763 Epacketshop epa091vs@126.com
765 erian.bestdeals bmelika55@gmail.com
767 extraps extrapse@yahoo.com
768 eyourlife_light light8012@163.com
769 ezyshop_1987 ezyshop1987@gmail.com
770 fanweijun3 xinhual00200@hotmail.com
771 farmerseller farmerseller2017@sina.com
772 fashion-gardener wangmerrylin@hotmail.com
774 fashion-sht_ cool28day@163.com-
779 fdgstore asdfgh.1978@abv.bg
780 __ finding-wholesale88 mejhfeumjhdal81@163.com
783 finestyrds finestyrd@outlook.com
789 freefordiscounts _ yuanruiwang@hotmail.com
793 gagaoutleteb gagaoutletem@gmail.com
797 gashinastore penguinstore01@hotmail.com
798 gelivable.2u resinkit.us@gmail.com
799 gemstone01.hk 2766593998@qg.com
800 gintagubua_0 lopezlees@hotmail.com
801 girlu-94 girlunited@hotmail.com
803 golf _best sarun9885(@gmail.com
806 goodluckybead goodluckybead168@gmail.com
807 graceexpo ineversaybyebye@163.com
813 hailaidz2018 hailaidz@163.com
814 hainatrade _hainatrading@outlook.com
815 halobrother w2prohair@gmail.com
816 hammo123ye allahkareem113399@gmail.com
820 happyvalley009 happyvalley319@gmail.com

| 823 hhappyshopperr happyshoppping@outlook.com

 
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Doe Store Name E-mail
824 _| hi-gobuy hi_gobuy@sina.com
825 _| hithai_58 myhieptt9@gmail.com
(826 | hkc1218 xfy284981662@126.com - -
827 hni8fs f44vebd@163.com oe
- 828 homefashion2014 mk18898182887@outlook.com
829 homeproduct_sell homeproductsell@outlook.com
| 832 honory89 zhangxiao3233@hotmail.com
833 _ hot_secret hot_secret2011@outlook.com
836 huajuanShdféshg-9 huajuanShdf6shg@hotmail.com 7
838 | huasharenmin2013 hgtttke33@outlook.com
839 huiyong688one huiyong66lisky@outlook.com ae |
840 hung store97 khoavodoj97@gmail.com
841 hunttown fashionluo123@outlook.com
_ 842 hutiangian70 hu56912@163.com ;
_843__| hwstore2 kmstore2010@gmail.com
844 —_| hypeduc448 ngducthang88@gmailcom ss
| 846 ideals100 ideals2017@foxmail.com
. 847 _| ilonova7 ilonavania95@gmail.com
/849 _. ilovecustomer cool25day@163.com _
851 __| Instylemall kipzy.psg@gmail.com _
852 Intermee zug363@yeah.net
854 _ iselect_gogo 15915849800@163.com
855 _| isopene01 coffeene01 @gmail.com an
| 856 | janepar_0 metamon.bluewhale306@gmail.com _ |
| 858 Jauntybuy jauntybuy2017@sina.com
864 _| jiaku-55 jiande666@outlook.com - |
$65 | jian-char 15397563273@163.com
867 _| jimansifawajikO jimansiaS4@gmail.com |
870 jlfantasticstore zhouganguk@yeah.net -
871 _, jobistore-95 boudars.ayoub@gmail.com
872 _; Joliesanz ting.med01@yahoo.com -
873. joytownonline joytown88@126.com
875 _; Julybelll july_belll@outlook.com ;
876 _- junmaioo-7 junmaioo@outlook.com
| 877__. jyglosstopped2012 gostop3345@hotmail.com ;
878 _| kany.rakth kanyatiw@gmail.com -
879 kasaminto.shop karim-love4ever@hotmail.com
880 kasus2012 kasustore@outlook.com
_882___| Kemlet keynotebers@outlook.com _
883 | Kesawaaa kesawapilihan@gmail.com
884 _| kevin920406a qwegong123a@outlook.com
- 887 _' kiss*candyagain kisscandyagain@126.com

 

 
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Doe Store Name E-mail
888 kissbuyonline kissbuy88@126.com -
/ 889 | kkmall666 kkmall20170106@hotmail.com oo
891 _ ky-968 ky@jebolist.com no ceed
892 lady_lifestyle saadia.atif02@gmail.com ; oo
| 893 lady.deals carldeals2014@126.com :
1894 | lamq_0 quangmy23061984@gmailcom
896 _| led1928g0 $xx456789ass@126.com |
897 lee_hyan991 lee_hyan99@163.com
(900 _| lineswish2016 _. lineswish@yahoo.com __
901 | liveonly4you only4youcs@gmail.com
903 _; lor-jian nbvewuy78@163.com
904 _| lotsgoods88 lotsgoods@126.com -
907 _| lucky-daisy7 golddaisy777@live.com
913° m2cbrandexpress m2cbrandnew@yahoo.com _
914 | mahris-0 homemadestuff80@gmail.com ;
(915 | makeitright11 makeitright718@hotmail.com
918 _| maxsuperstoreservice nici_ 90@abv.bg ; j
920 __ maz-tek 582209617@aq.com |
921 | Meilak reemfares10@yahoo.com i
922 __ mentaristore-88 mentarishope6S0@gmail.com 4
923, Mewshop _ anhchaw051215@gmail.com Q
924 | mic-supply micsupply2@gmail.com .
925 _| micro_river aiken.cai@hotmail.com _
926 _| millionbillion millionbillioncs@gmail.com
927 __ minibaby2015 minibaby8@outlook.com oe
928. mjlshantoushib mjlshantoushibb@outlook.com |
929 ___, mmihoffsstore mihoffstore@gmail.com ee
930 __ modern_facility quynguyen25101987@gmail.com
932 Mornlive 118922133444@outlook.com
,935 _. ms3535 silingis]9920403@gmail.com —s_|
936 Mylocalstore niclyf@gmail.com -
937 mylzhojia nevddfgnndss@126.com
938 —_| ncstorel212 cnisarat@gmailcom
939 _ new-star2018 ulyssesi80329@gmail.ccom
(941 _. newisland2018 island2018new@outlook.com
942 | newtion-1 7 34408 18238@qq.com ee
-944 _ niceandqualitystore | boukkenah.elhassan@gmailcom
945 __| niceshop-h niceshopgei@outlook.com
/947 _ niikae | _ ecoelite.sp@gmail.com
948 | nikolaakinfee 0 sergey.derin2016@gmail.com
953 omy010 ; omy010eb@163.com
954 _| onecityhunter _

 

 

 

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‘Doe _ Store Name E-mail _

: 955 | onered33 onerwed@outlook.com |

| 956 onetwofreeshop ectrading1234@gmail.com

960 ouyou2010 ouyoup@efavorable.com oo
/961 | padugafashion letuongvy050607@gmail.com
964 | pawd9 no.siew@outlook.com 7

968 _| pj-online _getthedeals2011@gmail.com
970 _| polinapch21 polina.pchavdarova@yahoo.com ts
971 _| popmall popmallcs@gmail.com

972 __| poramathonglo0 aprilwrap01@gmail.com

973 _| power-ful powerful2017@sina.com

975 prosonhua prosonhua2017@163.com

| 978 ghthug ae_azzaoui@hotmail.com

979 | qianruheng qianruhengkeji@163.com
982 _— quality-mall qualitymall2017@foxmail.com

| 984 __ racdelos_0 tori25874@outlook.com

'987 _ rebeka8818 qwegong123c@outlook.com

989 _; risanawra_08 risanawra8@gmail.com

991 __ rolselmshop roland.selmon@gmail.com _

994 | rssh trssh2012@hotmail.com

'995 _| rungmaneyongya-0 toffyabed01@gmailcom

996 _| sachem0 flowerandy@hotmail.com

998 | sale.salel donatas78.d@gmail.com

999 sally shop salouaelgana@gmail.com ee
~ 1000 | sangguoertech sangguoertech2018@outlook.com | |
1001 | savemoneyforyou newxiachuanglucky@gmail.com

_ 1002 i savemuchmore savemuchmorecs@gmail.com
1003 | sergusha2010 sergo.espotransa@mail.ru

| 1004 | seven*deal er.raudys@gmail.com ;

| 1005 _| sevencolorslife lei.simplelife@gmail.com a
1007 segywvz0 sggywvz@163.com

1009, shanghuit_shop2018 shanght_shop2018@sohu.com

1012 = shefstore ebay7@pbuyincoins.com

1013 _. shcifang ebay9@buyincoins.com

1014 | shenchiasen3 shenchiasen@outlook.com

| 1015 | shevalues bodychain888@qq.com

1016 | shockingvalue mtoan.vo.74@gmail.com

/ 1017 | shop-stars-world cs.ukstars@outlook.com sis
/ 1019 | shoppingforjoy michelle.susu2@hotmail.com

- 1020  shoppingsky2017 shoppingss@outlook.com

| 1022 | showgoodsstore showgoodstore@outlook.com

1023 _; showyouhow donshowyou@gmail.com

 

1024 | shsupplier | ywsupplier@126.com
Case: 1:19-cv-02519 Document #: 55 Filed: 07/30/19 Page 15 of 20 PagelD #:3839

 

 

Doe | Store Name | E-mail
1025 — shuxinshop shuxinstore@163.com
1028 _—_ simitter01 _hxuoe9166@gmail.com
1034 soonhua_digital _ soonhuadgt2017@163.com
1036 southrenswallow201 southernswallow2012@gmail.com
1037  — sowesmile4 poerg1873kfsrjkfj@163.com
1039 Spirititems mo.eddahbi@gmail.com
1040 sporting_mall _ abebay3@163.com 3
1041 — spring0316_5 _ spring03 16@outlook.com
1042 = Sshht mnewjangafsa@163.com
1043 Ssmoon ee8756e0ajeibq@163.com
1044 Staywithyou __Igddota@yeah.net |
1045 _ stickprodeals a _ smartmart.ltd2018@gmail.com
1051 superfashionstore13 jesusmirelles08@gmail.com
1052 — supermarket9527 supermarket2016@sina.com
1053. superwiner2019, _ fumu2018abec@outlook.com
1054 — superx-us _ superxus@126.com
1055 — surasom0 mummy.poring01@gmail.com
1056 — susubuystore susubuy(@outlook.com
1058 | sxmart.ii 2010jixiang@gmail.com _
1059 t.x.q_ _Tudiauzansyauqi@gmail.com _
1060 — takemetoyou takemetoyou720@hotmail.com
1061 tan0ze_0 tan0ze@163.com
1063 —_ texoshop26 _mantasco@gmail.com
1065 thebestvalueshop __petyatoshkova88@gmail.com
1067 __ tim.aries | tim.aries.hk@gmail.com
1068 — tim.gemini tim.gemini.hk@gmail.com
1069 __ tinyroon / moreonlinehere michelle.susu@hotmail.com
1072 — top_better a _top.better@outlook.com
1074 — topelectronics2010 2010topelectronics@gmail.com
1075 tpusx-92 tpusxiuxian@hotmail.com
1076 — tpusy_19 tpusyongpin@hotmail.com
1077 tradeandeasy __ edmorley211@outlook.com
1079  tradewestore _borderless2018@sina.com
1080  tradinggreen1 ufo6s5dsc@hotmail.com
1082 __ triple*j ng _boon_kian@yahoo.com.sg
1084 — ty156566_5 ty156566@163.com
1095 Usdeliver _emusbandara@gmail.com
1099 ~~ vip9029 _vip201308@gmail.com
1100 ~~ ~Vivot dhjjkl556@yeah.net
1101 | w-dragon-tech | wangjiaohuang@yitaide.com
1102.  Waltown superbyee@hotmail.com
1103 wang2-3643 wang2587wb@163.com

 
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Doe Store Name E-mail
1106 | wejl59jcw_6 wej159jcw@sina.com
1107 | we-haveitall koumbclasher@gmail.com
1108 | Wecooz wecooz.ebay@gmail.com
1110 | weiwezho-42 zhouweiwei66@hotmail.com
1111 | Wemobile iemobile@yeah.net
1112 | Westlakeside zhangjx0372@163.com
1113, wgmm5978 3583997118@qq.com
1117 __| withinfieldshop withinfields@yahoo.com
1118 + wonderful.mart cosplayvoicede@163.com
1120 __| worldsoonhua wsoonhua2017@sina.com
1122 | Worthbuyer googbuyer@outlook.com 7
1126 | xiaoyanzi0616 jigimao88store@hotmail.com _
1128 | xincheng8820112010 114776776@qq.com
1133 | Yafeetop -sunyanlail 975@gmail.com
| 1136 | ybb-toys didvto@yeah.net ne
| 1137__| yes-ship-2days bechoo seller@yahoo.com _
1138 yesfor2013 yesfordotcom@gmail.com
~1141 | Yunamon rtlim415@gmail.com
1142 | yunfuli8960 yunfuli896@hotmail.com
_ 1147 | zhutangkelly2017 2t13917535560ms@163.com
| 1149 | zmlong20171 zmiong2017@outlook.com
1169 _| Fashioncenter jetryhuang003@gmail.com
_ 1181 | sinoteckinternational wishalice@sinoteck.cc
(1183 | MIRE RPARARAR 498128057@qq.com -
(1195 AH huahuashiy@163.com
1197 | shenzhentongtuo heixue90@163.com
i 1 198 Makezhou lululubike@163.com
1214; shenzhengracekarin yafee033@hotmail.com
| 1215 | ARH eA HN AR BR ZA a] yafee017@hotmail.com
| 1217 _; wiltechsolutionsine yinkadintl@gmail.com
1218 | shenzhenyafeeecommercecoltd gracekarin6@hotmail.com oe
1224 | shanghaijeandreamecommercecoltd janedream-S@outlookcom is
1228 | Gogosochina ggswish@gogoso.cn
1230 | RUTTER AA a] millaly001@outlook.com
1233 | demonandangel domonandangel@outlook.com
1236 shenzhenmoscatechnologycoltd spitzer525@hotmail.com
(1238 | INDUS RIA TR AAIRA Al service@yunkomolds.com
| 1249 | Chisimei 2158735814@qq.com
1252 | FRUIT BBA RA IRA A
|

 

 

sweetdaily777@hotmail.com

 

 
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Doe Store Name | E-mail

1253 RAB EMARAA PRA A] annke6688(@gmail.com

1258 SBR AARARAR vikiflying@hotmail.com
1262 _ hotenergylimited hksellsO11@gmail.com

1263 — shenzhenmercuryecommercecoltd miyaliu08@yahoo.com

1268 | Tvboxmaker © 1213451716@qq.com

1270  fashoptechnologyllc 237913016@qq.com

1274 PRREFBRAAAA] _ 348770550@qq.com

1277 Gaishilandeltd __ y-sjdiscount@hotmail.com
1280 yiwuyuelielectronicscoltd _kuniu888@126.com

1285  Zhaoyufeng swenl2y@163.com

1290 —_ zhejiangunicointernationallogisticcoltd winnie963852(@sina.com
1605 wanxianggengxin 842887670@qq.com

1613. Mrstea _ vjijifjiwty@126.com

1616  Shanwei_ — 812996358@qq.com

1630 Zhouchunlei hfsfrugty@163.com

1635 = qku8iik angtyry12@126.com

1636 — thecharmofzero wtmngyty@163.com

1642 Hyong huiyong586@sina.com

1648 — lystorenm _ 732120294@qq.com

1649 — dragonflyyy 1327465092@qq.com

1655 ddingjieweiw _ _ ddingjieweiw@outlook.com
1680 — sestoelemento — | 360379839(@qq.com

1682 _ betterlife45 —2865708753@qq.com

1684 — hopeisthebest 2044377808@qq.com

1688 — knotsnebraska gihuipeng@outlook.com
1690 — yuanlin10 venthsxjnclyss@hotmail.com
1707 __ lidushoude keelsouocidypse@hotmail.com
1708 Gerowa — bhjwlj52033@163.com _
1709 Lul shiblesvorpmoksm@hotmail. com
1710 —_unvisioned1 jinshicompany3@126.com
Vil Dreamlz 15267380860@163.com
1713. Imh123qwe proglotteqkhxpue@hotmail.com
1714 — dlyd locktymecter@hotmail.com
1715 hqiiiii _whackyunfrivslly@hotmail.com
1716 heya _ 120446599@gqq.com

1719  rrshuyao rwh13625087776@126.com
1720  fanghong hf170405@sina.com

L721 newbhonghong zhujiajie523/@sina.com

1723 bestwm 13655098807/@163.com
1725 armycalleddress -2491854929@qqg.com

 

 
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| Doe _| Store Name | E-mail
1729 — lingxunshuju 1498303053(@qq.com
1733 =yangmagnolia yangmagnolia@outlook.com
1734 yycya aionial @hotmail.com
1737 funandfashion — 3183448586@qq.com
1745 tengxwyapp tengxwyapp@outlook.com
1746 nun jienen0607@sina.com
1753. wawaling520163com _ linlin8833@yeah.net
1754 zibo735__ _xuzhongping8888@hotmail.com
1760 = wenjie778 | ywj889@outlook.com
1763 Newfashionhomer _2594307103@qq.com
1764 _ fightinggirl0924 zyn924zyn@163.com
1770 Raison _jiangguangli23@outlook.com
1771  Eikestore — emyin1688@163.com
1776 = Syrinx 525341165@qq.com

togetherupa820feae358el 1le7a33f06a28da8c

1782 06a sdasat@163.com
1786 — Hlylifemall 455158411/@gqqg.com
1787 = yubaby98 3450309326@qq.com
1789  Fashionfindings 315719252(@qq.com
1792  infoelectroniccommerce 61997275 1@gqq.com
1794 Gboysshowing Ihy88899@outlook.com
1795 Worldofchildren lifude666010@foxmail.com
1796 —_Lijialzce lijan93 @outlook.com
1797  furongtradingecompany furongbaihuo@163.com _
1798 __ fantasticbaby98 410087068@qq.com
1799 = Newlycoingood newlycoin@hotmail.com
1802. Menbymen wfang88772211@163.com
1804 Luoxiangbishop daddybangood531/@163.com
1809 numberonel23_ 1178853609@qq.com
1810 | 123456fashionstore _ 517783031@gqg.com
1811 | Duoshaonian xiaopenyou677/@163.com
1818 | Haohaonnaxie haoraniny612(@163.com
1823. Modeltta -modeltra@hotmail.com
1825  Zhongdeshun fanxushishabi@163.com
1826 | Oumine 446073486@qq.com
1830 = ivy_548492977 chrishauncgwnten@hotmail.com
1832 lucky4ever luck4ever2017@outlook.com
1833. Massive massivewish@sina.com
1834  zhongf2021804 zhongf2021804@sina.com
1836 = Ixpeng0620 Ixpeng0620@163.com
1837 Lizhilinlizhilin Izlin8888@163.com

 

 
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| Doe _| Store Name | E-mail
1838 | Fenglang _ szfenglang@163.com
1839 39 Yyyzz 2273768215@qq.com
1842 — treebackwel8 j13265599648@163.com
1846 shoppingangel66 shopping angel@sina.com
1847 Newthang _ 2354436205@qq.com
1848 — giaomu201301 xu7881915@126.com
1849 —_ Beautyapparel | __ luojiafeng001@163.com
1851 | Wonderfulstoreli _amelds980@gmail.com
1855 9 Yuanmumu _ zayicekvewsnile@hotmail.com
1859 = xiaguoxin121 _ xiaguoxin121@outlook.com
1860 — Secaishijia layegaarmsapiotr@hotmail.com
1861 _—_ jingyinghuaerzi _thq_1121@sina.com
1862 4utoto . utoto123@ 126.com
1865 _yingying20171 _Yingying20171slm@163.com
1866 — Jiqun. yiwujigun@aliyun.com
1871 | wannagreat 17183246473@163.com
1872 __weixingyustore _ lixiangxiang006@sohu.com
1877 lixiaolong1990 1253776867@qqg.com
1883 easeholdpro _ annke5866@annkeview.com
1888  Ruisitong _ ruist.eu@outlook.com
1889  Aprecious aprecious@yeah.net
1902 unknownstore 3409204280@qqg.com
1904 Comforter oce_001@outlook.com
1915 Hunrabbit _ __alliance86@163.com _
1918  Vogolink _ vogolink@outlook.com
192] yanjuanshop yanjuanshop@outlook. com
1938  Hirushi - dignadrummer17/@gmail.com
1941  Shsjsm shanghaisijishangmao@hotmail. com
1951 bestfriend] zjdzyp1@163.com
1952 fjnlyouth0105 — 3249971470@qq.com _
1955 Superhand _ tonyouo2018@gmail.com
1964 Kzmy kezhoumaoyi@163.com
1966 — Shhbhble shhb15@shhbeauty.com
1974 lem68_ 2383965166@qq.com
1977 huangfengS 11 huangfeng511@163.com
1982 tophongkong anxinpb7(@163.com
2004 _ lizexin09opk 13924659492(@163.com
2006  Happyadi 1742466185@qq.com
2008 — linchun520_ elmmle6@163.com
2016 = -Hdr 438571383@gqg.com
2017. sunny51 Ilqq1222@hotmail.com
2019 godhorsewholesale 1159579241@qq.com

 
Paw

Case: 1:19-cv-02519 Document #: 55 Filed: 07/30/19 Page 20 of 20 PagelD #:3844

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Doe Store Name E-mail

2023 _| Gastar a7767367@outlook.com _
2042 __| Komitasa komitasui01@163.com |
2044 | factoryfromchina 2242743457@qq.com
2047 _| jialichen2099 wflweon6338@163.com _
2064 | ningyalai35288 15302681097@189.cn
2066 __| binbingoshop binbingoshop@hotmail.com
| 2070 | Uujulyonly fvysfj73413@163.com _
(2076 _| sikale00010_a 3088422716@qq.com
2078 __ beautyfashion2018 944598998@qq.com
| 2080 | wodexiaodian128 lightsunair@sina.com
2081 _| jiangnanchunse jiangnanchunseo@163.com
| 2083 . fengkuangtaotao fengkuangtaotao@qq.com

 

 
